                 EXHIBIT B


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          STATE OF NEW YORK
          SUPREME COURT :COUNTY OF ERIE


          BILLY EVANS AND HEATHER EVANS,
          Individually and as Natural Guardians of O.E.
          O.E., an infant,

                                        Plaintiffs,                      VERIFIED ANSWER TO
                                                                         AMENDED VERIFIED
                 - vs -                                                  COMPLAINT
                                                                         WITH CROSS-CLAIM
          SOUTHTOWNS CATHOLIC SCHOOL,

          J.L., an infant BY MICHAEL LI VECCHI AND                       Index No. 2019/801322
          CLARA LI VECCHI, HIS PARENTS AND NATURAL
          GUARDIANS,

                                        Defendants.



                 Defendant Southtowns Catholic School, by its attorneys Bond, Schoeneck &

          King, PLLC, for its answer to the amended verified complaint (the "amended complaint")

          of Plaintiffs Billy Evans and Heather Evans, Individually and as Guardians of O.E., an

          infant, and O.E., an infant ("Plaintiffs"):

                 1.       Denies the allegations contained in paragraphs "7", "9", and "10" of the

          amended complaint.

                 2.       Denies on information and belief the allegations contained in paragraph

         "8" of the amended complaint.

                 3.       As to paragraph "2" of the amended complaint, states that it is a

         consolidated prekindergarten through grade 8 school that is located and operates in the

         Town of Hamburg, Cotanty of Erie, State of New York and otherwise denies the

         allegations of paragraph "2" of the amended complaint


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                4.     As to paragraphs "3" and "5" of the amended complaint, admits on

          information and belief that the named infant Defendant, J.L., was a student at

          Southtowns Catholic School during the period of time placed at issue in the amended

          complaint, further admits on information and belief that the named infant Defendant,

          J.L., is currently a student at Southtowns Catholic School, and otherwise denies

          paragraphs "3" and "5" of the amended complaint.

                5.     As to paragraph "4" of the amended complaint, states that the infant

          Plaintiff, O.E., was enrolled as a prekindergarten student at Southtowns Catholic School

          from approximately October 1, 2018 until approximately December 20, 2018 and

          otherwise denies paragraph "4" of the amended complaint.

                6.     As to paragraph "6" of the amended complaint, denies that any official of

          Southtowns Catholic School ever so instructed the infant Defendant, J.L., states that the

          employees of Southtowns Catholic School at all relevant times took reasonable

          precautions to ensure the safety of students at the school, and otherwise denies

          paragraph "6" of the amended complaint.

                7.     Denies knowledge or information sufficient to form a belief as to the truth

          or accuracy of the allegations contained in paragraph "1" of the amended complaint.

                8.     Denies each and every allegation of the amended complaint not

          hereinbefore specifically admitted, denied, or otherwise controverted.




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                              AS AND FOR A FIRST AFFIRMATIVE DEFENSE

                 9.     The amended complaint fails to state a claim upon which relief can be

          granted.

                            AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                 10.    If Plaintiffs were damaged as alleged in the amended complaint and are

          entitled to any recovery thereon, the liability of Defendant Southtowns Catholic School,

          if any, for such damages is fifty percent or less of the total liability assigned to all

          persons liable for Plaintiffs' damages.

                 1 1.   If Plaintiffs sustained non-economic loss by reason of any fault other than

          own, the liability of Defendant Southtowns Catholic School, if any, to Plaintiffs for such

          non-economic loss shall not exceed the equitable share of such liability of Defendant

          Southtowns Catholic School determined in accordance with the relative culpability of

          each person causing or contributing to the total liability for such non-economic loss.

                              AS AND FOR A THIRD AFFIRMATIVE DEFENSE

                 12.    If Plaintiffs were damaged by reason of the cost or expense, past or

          future, of medical care, dental care, custodial care or rehabilitation services, loss of

          earnings or other economic loss as alleged in the complaint, such cost or expense was,

          or will with reasonable certainty be, replaced or indemnified, in whole or in part, by a

          collateral source or sources as defined in New York CPLR 4545.




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                              AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

                 1 3.   Defendant Southtowns Catholic School lacked notice, actual or

          constructive, of any alleged hazardous conditions and thus is not liable for Plaintiffs'

          alleged injuries.

                                      AS AND FOR ACROSS-CLAIM
                                     AGAINST THE CO-DEFENDANTS

                 14.    If the Plaintiffs sustained the injuries and damages in the manner and at

          the time and place alleged, and in the event it is found that this answering Defendant is

          liable to the Plaintiffs herein, then upon said allegations of the amended complaint and

          upon the pleadings and evidence, said damages were sustained by reason of the sole,

          active and primary carelessness and/or recklessness and/or negligence and/or

          affirmative acts of omissions or commission on the part of one or more of this answering

          Defendant's co-Defendants herein, and this answering Defendant is therefore entitled to

          complete indemnification from any judgment over against each and every such co-

          Defendant herein, for all or part of any verdict or judgment that Plaintiffs may recover

          against this answering Defendant, and/or in the event that judgment over is not

          recovered on the basis of full indemnification, then this answering Defendant demands

          judgment over and against each and every co-Defendant herein on the basis of an

          apportionment of responsibility for the alleged occurrence for all or part of any judgment

          or verdict that Plaintiffs may recover against this answering Defendant, and that all of

          the provisions of limitation of liability under Article 16 of the CPLR are pleaded and

          reiterated herein by this cross-claiming Defendant.




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                    !tl/HEREF~RE, Defendant Southtowns Catholic School demands judgment:

                    a.     Dismissing the amended complaint and each cause of action asserted

             therein;

                    b.     For a limitation of its liability to the Plaintiffs;

                    c.     Pursuant to its cross-claim, judgment over and against the co-Defendants

             herein, whether in the nature of indemnification or contribution, in the event a judgment

             i n favor of the Plaintiffs is awarded against this Defendant;

                    d.     For its reasonable attorneys' fees;

                    e.     For the costs and disbursements of this action; and

                    f.     For such other and further relief as to the Court seems just and proper.

             DATED: Buffalo, New York
                    J une 5, 2019

                                                           BAND, S~HC~ENECK ~ FCING, P LC



                                                                Dennis K. Schaeffer;. ~~q.
                                                           Attorneys for Defendant
                                                           Southtowns Catholic School
                                                           Avant Building -Suite 900
                                                          200 Delaware Avenue
                                                           Buffalo, New York 14202-2107
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            TO:     Leonard Berkowitz, Esq.
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            1333246




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                                                  CORPORATE VERIFICATION


                    STATE O~ NEW YORK                  }
                                                        SS.:
                    COUNTY OF ERIE                     )


                          Marc Bandefian, being duly sworn, deposes and says:

                           am the Principal of defendant Southfowns Catholic School; I have read the

                foregoing Answer and know the contents thereof; and the contents are true to my awn

                    knowledge, excep# as to the matters therein stated to be alleged an information and

                belief, and as to those matters i believe them to be true.

                          i further say that the reason this verification is made by me and not by defendant

                Southtowns Catholic School is that said party is a corporate entity in the nature of a

                consolidated prekindergarten ti~rough grade 8 school, and the grounds of my belief as

                to ali matters in this action not stated upon my own knowledge are investigations which

                have caused to be made concerning the subject matter of this litigation and information

                acquired by rrte in the course of my defies as the Principal of said corporate entity and

                from the books and papers of said entity.


                                                                        Marc Bandeli
                Sworn to before me this
                _~day of June, 2019




                Notary Publ
                                                 LAURA J. FAUST
                1333246
                                        tJotery public, State of New York
                                             Certfiied in Erie County
                                              Reg. N0. Ot ~A608T834
                                     M r ~mmniis~fan ~np1~a~ QBo~ 1Q, Z.~~-,

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